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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:18-CR-00238-JAM
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           FINDINGS AND ORDER
14   TIARRA JACKSON,                                     DATE: December 10, 2019
                                                         TIME: 9:15 a.m.
15                                Defendant.             COURT: Hon. John A. Mendez
16

17                                               STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.      By previous order, this matter was set for status on December 10, 2019.

21          2.      By this stipulation, defendant now moves to continue the status conference until February

22 4, 2020 at 9:15 a.m., and to exclude time between December 10, 2019, and February 4, 2020, under

23 Local Code T4.

24          3.      The parties agree and stipulate, and request that the Court find the following:

25                  a)     The government has represented that the discovery associated with this case

26          includes investigative reports and related documents, electronic evidence, and financial records.

27          All of this discovery has been either produced directly to counsel and/or made available for

28          inspection and copying.


      STIPULATION REGARDING EXCLUDABLE TIME              1
      PERIODS UNDER SPEEDY TRIAL ACT
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 1                b)      Counsel for defendant desires additional time to consult with her client about

 2         potential resolutions of the case and to review the produced discovery.

 3                c)      Counsel for defendant believes that failure to grant the above-requested

 4         continuance would deny her the reasonable time necessary for effective preparation, taking into

 5         account the exercise of due diligence.

 6                d)      The government does not object to the continuance.

 7                e)      Based on the above-stated findings, the ends of justice served by continuing the

 8         case as requested outweigh the interest of the public and the defendant in a trial within the

 9         original date prescribed by the Speedy Trial Act.

10                f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

11         et seq., within which trial must commence, the time period of December 10, 2019 to February 4,

12         2020, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

13         T4] because it results from a continuance granted by the Court at defendant’s request on the basis

14         of the Court’s finding that the ends of justice served by taking such action outweigh the best

15         interest of the public and the defendant in a speedy trial.

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      STIPULATION REGARDING EXCLUDABLE TIME              2
      PERIODS UNDER SPEEDY TRIAL ACT
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 2          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 3 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 4 must commence.

 5          IT IS SO STIPULATED.

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 7
     Dated: December 6, 2019                                  MCGREGOR W. SCOTT
 8                                                            United States Attorney
 9
                                                              /s/ GRANT B. RABENN
10                                                            GRANT B. RABENN
                                                              Assistant United States Attorney
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12
     Dated: December 6, 2019                                  /s/ KRESTA DALY
13                                                            KRESTA DALY
14                                                            Counsel for Defendant
                                                              TIARRA JACKSON
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17
                                            FINDINGS AND ORDER
18
            IT IS SO FOUND AND ORDERED this 6th day of December, 2019
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20                                                       /s/ John A. Mendez
                                                       THE HONORABLE JOHN A. MENDEZ
21                                                     UNITED STATES DISTRICT COURT JUDGE

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      STIPULATION REGARDING EXCLUDABLE TIME               3
      PERIODS UNDER SPEEDY TRIAL ACT
